                  UNITED STATES DISTRICT COURT
                   DISTRICT OF MASSACHUSETTS

                                 )   Criminal No. 20cr10263
UNITED STATES OF AMERICA         )
                                 )   Violations:
      V.                         )
                                 )   Count One: Conspiracy To Commit Stalking
JIM BAUGH and                    )   Through Interstate Travel and Through
DAVID HARVILLE,                  )   Facilities of Interstate Commerce
                                 )   (18 u.s.c. § 371)
           Defendants            )
                                 )   Counts Two - Five: Stalking Through Interstate
                                 )   Travel; Aiding and Abetting
                                 )   (18 U.S.C. §§ 2261A(l) and 2)
                                 )
                                 )   Counts Six - Nine: Stalking Through Facilities
                                 )   of Interstate Commerce; Aiding and Abetting
                                 )   (18 U.S.C. §§ 2261A(2) and 2)
                                 )
                                 )   Counts Ten - Twelve: Tampering with a
                                 )   Witness; Aiding and Abetting
                                 )   (18 U.S.C. §§ 1512(b)(3) and 2)
                                 )
                                 )   Counts Thi1teen - Fifteen: Destruction,
                                 )   Alteration, and Fabrication of Records in a
                                 )   Federal Investigation; Aiding and Abetting
                                ')   (18 U.S.C. §§ 1519 and 2)
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                                 )   Forfeiture Allegations:
                                 )   (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.
                                 )   § 2461(c))
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